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                              IN THE UNITED STATES DISTRICT COURT FOR THE
                                     NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION
 ADAM FRANCO,                                                )
                                                             )
                     Plaintiff,                              )
                                                             )   Case No. 23-cv-14525
             v.                                              )
                                                             )   Judge Joan H. Lefkow
 SYNTYNESE GRAY, CATHY SMITH, and                            )
 CHERRYLE HINTHORNE,                                         )
                                                             )
                     Defendants.
                                            OPINION AND ORDER

         Adam Franco brings this suit under 42 U.S.C. § 1983, alleging that individuals employed

by the Illinois Department of Corrections, Syntynese Gray, Cathy Smith, and Cherryle

Hinthorne, (“IDOC Officials”) violated Franco’s Eighth Amendment rights.1 Franco alleges that

IDOC Officials were deliberately indifferent to his complaints that he remained incarcerated

beyond his lawful release date. Before the court is IDOC Officials’ motion for summary

judgment.2 (Dkt. 31.) For the reasons stated below, the court denies IDOC Officials’ motion.

                                                 BACKGROUND

         In May 2017, Adam Franco was arrested for burglary in Cook County, Illinois.3 Franco

pleaded guilty on June 18, 2019. The same day, the court sentenced Franco to 4 years of


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           Franco also brings an Eighth Amendment excessive force claim against defendant Shawn Thrush. (Dkt.
16 ¶¶ 55-60.) On May 29, 2024, the court granted Thrush’s uncontested motion to sever the claim and transferred it
to the Central District of Illinois. (Dkts. 27, 28.) Facts only relevant to Franco’s claim against Thrush are not
discussed.
         2
             Federal subject matter jurisdiction is proper under 28 U.S.C. § 1343. Venue is proper under 28 U.S.C. §
1391.
         3
           The parties’ exhibits are not authenticated or accompanied by affidavits attesting to their admissibility.
Nevertheless, “federal courts routinely consider unauthenticated documents on motions for summary judgment ...
when it is apparent [ ] that such documents are capable of reduction to admissible, authenticated form.” Boyce v.
Wexford Health Sources, Inc., No. 15 C 7580, 2017 WL 1436963, at *3 (N.D. Ill. Apr. 24, 2017) (citation omitted).
The exhibits largely consist of records from the Illinois Department of Correction or Illinois Prisoner Review Board,
and thus appear admissible at trial as business records. Fed. R. Evid. 803(6). The exhibits are otherwise judicially
noticed. (Dkt. 32-1) (circuit court order); (Dkt. 32-2) (2019 version of Illinois statute); Fed. R. Evid. 201(b).
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imprisonment, with credit for 240 days’ time served, and one year of MSR. The typewritten

order provided, “Defendant is ordered to serve 0001 years Mandatory Supervised Release.” (Dkt.

32-1.) The circuit judge signed the order.4

         At the time, Franco’s burglary offense was a Class 2 felony carrying a statutory

requirement of two years’ mandatory supervised release (“MSR”). 720 Ill. Comp. Stat. 5/19-

1(b); 730 Ill. Comp. Stat. 5/5-8-1(d)(2) (amended Dec. 2021). Franco was released from IDOC

custody on MSR in September 2020.

         On January 19, 2023, Franco was arrested pursuant to a warrant for a parole violation

alleged to have occurred on April 20, 2021, and he was returned to IDOC custody. Franco served

228 days of MSR before committing the alleged violation.

         Franco was held in custody at the Northern Reception and Classification Center

(“NRC”). On February 10, 2023, Defendant Syntynese Gray, NRC Records Office Supervisor,

calculated Franco’s release date using an MSR term of two years and applied statutory sentence

credit.5 Gray determined Franco’s release date to be September 26, 2023.

         Franco was transferred from the NRC to Illinois River Correctional Center, and later to

Pontiac Correctional Center. On July 20, 2023, two members of the Pontiac records office

calculated Franco’s sentence using a one-year MSR term and applied statutory sentence credit.




         The parties’ Local Rule 56.1 submissions also cite heavily to the pleadings. Generally, a party’s Local Rule
56.1 statement “must represent admissible evidence.” Judson Atkinson Candies, Inc. v. Latini-Hohberger
Dhimantec, 529 F.3d 371, 382 (7th Cir. 2008). The court therefore relies only on those portions of the Local Rule
56.1 submissions that are admitted or uncontested. See Horton v. City of Chicago, No. 13-CV-6865, 2018 WL
6505398, at *6 (N.D. Ill. Dec. 11, 2018) (concluding that an admitted Local Rule 56.1 fact constitutes a judicial
admission binding on the party and “has the effect of withdrawing from contention [that] fact”).
         4
             People v. Franco, 17-cr-1067702 (Cir. Ct. Cook Cty., June 18, 2019).
         5
          Under Illinois law, recommitment is for “the total [MSR] term,” subtracted by the time elapsed between
the person’s release and their commission of the violation causing MSR to be revoked. (Dkt. 42 ¶ 14) (quoting 730
Ill. Comp. Stat. 5/3-3-9(a)(3)(i)(B)).

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The officials concluded that Franco’s release date was March 26, 2023. Franco was released that

day.

       The parties have not yet conducted formal discovery. In his amended complaint,

however, Franco alleges that while he was in custody at the NRC, he communicated to a

grievance counselor that his release date had been miscalculated. The grievance counselor

allegedly relayed his complaint to Gray, who responded that the facility to which Franco was to

be transferred would handle the issue.

       While at Illinois River, Franco allegedly communicated to the facility’s records office

that his release date had been miscalculated. Defendant Cathy Smith, Illinois River Records

Office Supervisor, allegedly communicated to Franco “and/or [Franco’s] grievance counselor”

that he needed to raise his concerns with the parole board. Franco further alleges that he

communicated to Defendant Cherryle Hinthorne, Illinois River Warden, that his release date had

been miscalculated. Hinthorne allegedly failed to consult with either the Illinois River records

office or main records office in Springfield, Illinois to ensure that Franco’s claim was effectively

investigated.

       Franco brings this action against Smith, Gray, and Hinthorne in their individual

capacities. He claims that each acted with deliberate indifference to his Eighth Amendment

rights by failing to investigate effectively his complaints despite their awareness that he could

have been incarcerated without penological justification. Hinthorne, Smith, and Gray move for

summary judgment on two grounds: (1) Franco’s claim is not justiciable under Article III of the

Constitution because he has not suffered an injury in fact; and (2) each defendant is entitled to

qualified immunity.




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                                       LEGAL STANDARD

        Summary judgment is appropriate “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). A genuine dispute of material fact exists if “the evidence is such that a reasonable jury

could return a verdict for the nonmoving party.” Zaya v. Sood, 836 F.3d 800, 804 (7th Cir. 2016)

(quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). The party seeking

summary judgment bears the burden of establishing that there is no genuine dispute as to any

material fact. Gray v. City of Evanston, No. 23-CV-1931, 2024 WL 3495009, at *3 (N.D. Ill.

July 22, 2024) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)). The court construes

all facts and reasonable inferences in favor of the nonmoving party. Daugherty v. Page, 906 F.3d

606, 609 (7th Cir. 2018).

                                             ANALYSIS

   I.      Article III Standing

        IDOC Officials contend that Franco lacks standing to sue because he has not suffered an

injury in fact. “The federal judiciary is empowered to decide ‘Cases’ and ‘Controversies.’” Fox

v. Dakkota Integrated Sys., LLC, 980 F.3d 1146, 1151 (7th Cir. 2020) (quoting U.S. CONST. art.

III, § 2). A controversy exists if the plaintiff establishes that he has standing, which is “a legally

cognizable interest, or personal stake, in the outcome of the action.” Genesis Healthcare Corp. v.

Symczyk, 569 U.S. 66, 71 (2013) (cleaned up and citations omitted). To establish standing, a

plaintiff “must have (1) suffered an injury in fact, (2) that is fairly traceable to the challenged

conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial decision.”

Fox, 980 F.3d at 1151 (quoting Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016)).




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        The test for injury in fact is “whether the plaintiff has ‘suffered an invasion of a legally

protected interest that is concrete and particularized and actual or imminent, not conjectural or

hypothetical.’” Fox, 980 F.3d at 1151 (quoting Spokeo, 578 U.S. at 339). At summary judgment,

the plaintiff must “move beyond allegations and point to evidence establishing a concrete and

particularized injury.” Gracia v. SigmaTron Int’l, Inc., 986 F.3d 1058, 1064 (7th Cir. 2021).

Whether the one-year MSR term imposed by the circuit judge or the statutory two-year MSR

applied to Franco’s 2019 sentence determines whether Franco suffered such an injury. This is a

question of state law. See Armato v. Grounds, 766 F.3d 713, 720 (7th Cir. 2014) (stating that the

court “reviews the effect of an Illinois state judgment by looking to state law”).

        IDOC Officials contend that Franco’s sentence should have been calculated using a two-

year MSR term, as required by Illinois statute at the time. (Dkt. 33 ¶ 21; dkt. 42 ¶ 5); 730 Ill.

Comp. Stat. 5/5-8-1(d)(2) (amended Dec. 2021). They argue that “every sentence automatically

includes the correct MSR term by operation of law, regardless of what is expressly written in the

sentencing order.” (Dkt. 33 ¶ 18.) Properly applying a two-year MSR calculation, IDOC

Officials contend, Franco should have been released on September 26, 2023, and thus “cannot

establish standing because he has no injury in fact: He was released early from prison, not late.”

(Id. ¶ 15.)

        Franco does not dispute that his sentence required a two-year MSR term under the Illinois

statute. Rather, he responds that the circuit judge’s order imposing a one-year MSR term is

“merely voidable, not void, and carries full force and effect because no court with authority

decided otherwise.” (Dkt. 40 at 10-11.) Under Illinois law, “A void order is a complete nullity

from its inception and has no legal effect.” Herrera v. Herrera, 194 N.E.3d 1107, 1117 (Ill. App.

Ct. 2021). On the other hand, “a voidable judgment shows from its record that it is valid, and will



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remain valid unless and until its infirmity is established in a supplemental proceeding.” JoJan

Corp. v. Brent, 718 N.E.2d 539, 548 (Ill. App. Ct. 1999), as modified (Oct. 20, 1999).

        Franco asserts that under Illinois law the appropriate method of invalidating his MSR

sentence was to file a mandamus action with the Illinois Supreme Court. (Dkt. 40 at 9-10.) Since

no one “challenged his sentence by the proper avenues,” Franco argues the one-year MSR term

remained in effect. (Id. at 9.) As such, Franco contends he was due for release on March 26,

2023, and was imprisoned “about four months past his correct release date,” establishing an

Article III injury in fact. (Id. at 3-4, 11.)

        In People v. Castleberry, the Court revisited the common-law “void sentence rule,”

which provided that “a sentence which does not conform to a statutory requirement is void.” 43

N.E.3d 932, 936 (Ill. 2015) (quotation omitted). The Castleberry Court explained that “whether a

judgment is void or voidable presents a question of jurisdiction.” Id. at 935 (quoting People v.

Davis, 619 N.E.2d 750, 754 (Ill. 1993)). “Where jurisdiction is lacking,” the Court reasoned,

“any resulting judgment rendered is void.” Id. (quotation omitted). A voidable judgment, on the

other hand, is “one entered erroneously by a court having jurisdiction.” Id. (quotation omitted).

        The Court explained that a 1964 amendment to the Illinois Constitution “significantly

altered” the scope of circuit court jurisdiction. Id. at 936 (quoting LVNV Funding, LLC v. Trice,

32 N.E.3d 553, 560 (Ill. 2015)). The amendment broadly granted circuit courts “original

jurisdiction of all justiciable matters,” excepting review of administrative actions. Id. (quoting

Trice, 32 N.E.3d at 560; ILL. CONST., art. VI, section 9). Given its general jurisdiction, the Court

explained, a circuit court “need not look to the statute for its jurisdictional authority.” Id. at 939

(quotation omitted). The Court thus abolished the void sentence rule as “constitutionally

unsound.” Id.



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       Following Castleberry, “a statutorily nonconforming sentence is not void; it is merely

voidable and subject to the usual rules of forfeiture or other procedural restraints.” People v.

Price, 76 N.E.3d 1240, 1243 (Ill. 2016). Accordingly, “a reviewing court may no longer, sua

sponte, correct a statutorily nonconforming sentence [and] the State … must seek a writ of

mandamus to do so.” Id. at 1244; see also Castleberry, 43 N.E. 3d at 940 (providing for

mandamus “where it is alleged that the circuit court violated a mandatory sentencing

requirement”); People v. Miller, 131 N.E.3d 1203, 1212 (Ill. App. Ct. 2019) (concluding,

pursuant to Castleberry, that the appellate court had “no authority to find defendant’s initial

sentence void, and the trial court erred in resentencing defendant and imposing [statutorily

mandated] enhancement, where his original sentence was not void”).

       Castleberry is controlling here. The Illinois Constitution confers general jurisdiction on

circuit courts, with a limited exception for administrative actions. As such, the trial court had

jurisdiction to impose Franco’s sentence. People v. Brown, 49 N.E.3d 1004, 1006 (Ill. App. Ct.

2016) (“[T]he trial court obviously had jurisdiction to impose defendant’s sentence, including the

unauthorized MSR term.”). As a result, Franco’s one-year MSR term was voidable and could

have been corrected via a writ of mandamus. Price, 76 N.E.3d at 1244. Because no one sought

such relief, the sentence remained valid during his term of imprisonment.

       IDOC Officials attempt to distinguish Castleberry by arguing that it “did not address

MSR terms.” (Dkt. 45 ¶ 17). While Castleberry involved the enforceability of a statutory

sentencing enhancement, 43 N.E.3d at 934, IDOC Officials seem to overlook that Castleberry

has been applied in the MSR context. See, e.g., Brown, 49 N.E.3d at 1006 (concluding that

defendant’s sentence, including statutorily unauthorized MSR term, “is not void” under

Castleberry). More fundamentally, a trial court’s jurisdiction to impose sentences is



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constitutional. ILL. CONST. 1970, art. VI, section 9; Castleberry, 43 N.E.3d at 938-39; Brown, 49

N.E.3d at 1006. Because a circuit court “need not look to the statute for its jurisdictional

authority,” IDOC Officials’ efforts to distinguish Castleberry on a statute-by-statute basis ring

hollow. Castleberry, 43 N.E.3d at 939 (quotation omitted).

         IDOC Officials also urge the court to disregard Castleberry and apply a separate line of

Illinois Supreme Court cases. See People v. McChriston, 4 N.E.3d 29 (Ill. 2014); Round v.

Lamb, 90 N.E.3d 432 (Ill. 2017). They contend that McChriston and Lamb stand for the principle

“that MSR terms are statutorily mandated and not subject to judicial discretion.” (Dkt. 45 ¶ 13.)

Applying these cases, IDOC Officials argue, “the correct MSR term applies by operation of law,

regardless of the sentencing order’s content.” (Id. ¶ 20.)

         IDOC Officials’ theory is unavailing. Both cases, unlike this case, interpreted the MSR

statute in the absence of an explicitly-imposed MSR term. In McChriston, the trial order did not

specify an MSR term and the trial judge failed to mention MSR at the sentencing hearing.

4 N.E.3d at 31. Similarly, in Lamb, MSR was not mentioned during plea negotiations,

sentencing, or in the written sentencing order. 90 N.E.3d at 434. While the Court in both cases

applied the statutory MSR period, id. at 437; McChriston, 4 N.E.3d at 35, neither construed the

MSR statute to empower IDOC to overrule judges who affirmatively impose such terms.6

         IDOC Officials minimize this distinction, but it is reflected in Lamb, McChriston, and the

MSR statute’s legislative history. The Lamb Court explained that an amendment to the MSR

statute required judges to enter the term of MSR so IDOC would not have to request the correct




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           The court is unpersuaded by IDOC Officials’ reliance on several other cases that predate Castleberry,
which is the controlling authority. People v. Whitfield, 840 N.E.2d 658 (Ill. 2005); People v. Brown, 695 N.E.2d
1374 (Ill. App. Ct. 1998); People v. Ford, 18 N.E.3d 88 (Ill. App. Ct. 2014); People v. Jackson, 974 N.E.2d 855 (Ill.
App. Ct. 2012).


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term from the courts. 90 N.E.3d at 437 (“[T]he [amendment] would … require judges to enter

the specific length of parole that each inmate needs to spend after their sentence’s [sic] done …

They’re not required to do that right now, [which] creates confusion sometimes at intake for

[IDOC], and they have to contact a sentencing judge … to make sure they enter the right parole

information.”) (quoting 97th Ill. Gen. Assem., House Proceedings, May 17, 2011, at 48). The

McChriston Court relied on the same legislative history in interpreting the older version of the

statute. See 4 N.E.3d at 34-35.7

         Here, the circuit judge imposed a one-year MSR period and had jurisdiction to do so.

Brown, 49 N.E.3d at 1006. Disregarding this express MSR term therefore requires concluding

that the trial court is “incapable of issuing an MSR term” that does not comply with the statutory

requirement. People v. Barrett, 2017 IL App (2d) 140948-U, 2017 WL 1078607, at *6.8 That

conclusion cannot be squared with the court’s jurisdictional power to impose such sentences and

works a “backdoor attempt to resurrect the discredited void sentence rule.” Id. After Castleberry,

this type of challenge is “no longer valid.” People v. Thompson, 43 N.E.3d 984, 991 (Ill. 2015).

         IDOC Officials also downplay the one-year MSR term as a “clerical error,” relying on

People v. Fukama-Kabika, 234 N.E.3d 50 (Ill. 2023). (Dkt. 45 ¶ 17.) In Fukama-Kabika, the

Court concluded that a trial court retains jurisdiction to correct clerical errors in written

sentencing orders and that in such cases, Castleberry does not apply. 234 N.E.3d at 56. The



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           The same reasoning applies to People v. Viverette, 54 N.E.3d 944, 951-52 (Ill. App. Ct. 2016), as
modified (June 14, 2016) (applying McChriston and referencing the same legislative history to conclude that MSR is
part of every qualifying sentence regardless of whether “the term is mentioned during sentencing or omitted from
the sentencing order”).
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             IDOC Officials’ request that the court disregard and strike Franco’s citation to Barrett is denied. (Dkt. 45
¶ 19.) Illinois Supreme Court Rule 23(e) “only bars parties from citing ... unpublished decision[s] as authority”—it
does not preclude parties “from using the reasoning and logic from such decisions nor does it prevent courts sitting
in other jurisdictions from citing ... unpublished orders in their dispositions.” Litterer v. United States, 545 F. Supp.
3d 625, 635 n.2 (N.D. Ill. 2021) (cleaned up).

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distinction between clerical and judicial errors depends on “whether [the error] was the

deliberate result of judicial reasoning and determination.” Id. at 54 (quotation omitted).

         IDOC Officials point to no evidence suggesting that Franco’s sentence lacked

deliberation. In fact, the evidence implies the contrary: while the MSR term is typewritten, the

circuit judge appeared to hand-sign the typewritten Order. (Dkt. 46 ¶ 3; dkt 32-1); see Barrett,

2017 WL 1078607, at *6 (reasoning that the combination of a computer-generated sentencing

order and manual signature “bears the mark of purposeful input”).

         Finally, IDOC Officials claim that Franco’s theory, “if accepted, would place an

untenable burden on the IDOC and Defendants. It would force the agency to choose between

potentially violating inmates’ constitutional rights (by enforcing statutorily mandated MSR

terms) and failing to fulfill its statutory obligations.” (Dkt. 45 ¶ 22.) Castleberry, however,

resolves the confusion that IDOC Officials describe. Giving effect to judgments within a circuit

court’s jurisdiction is “consistent with the policy of preserving the finality of judgments” and

protects against an “unwarranted and dangerous expansion of the situations where a judgment

may be set aside on a collateral attack.” Castleberry, 43 N.E.3d at 938 (quoting Trice, 32 N.E.3d

at 562).9

         There is no evidence suggesting that either party sought mandamus to correct Franco’s

one-year MSR term, and the record is undisputed that IDOC Officials released Franco from


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            IDOC Officials also maintain that Franco has not suffered an Article III injury “under section 1983 tort
principles.” (Dkt. 45 ¶ 23) (citing in part Wells v. Caudill, 967 F.3d 598, 602 (7th Cir. 2020) (“[O]ne of the best-
established propositions in federal constitutional law is that an error of state law is not properly rectified by deeming
that error a constitutional tort.”)).

          This argument conflates distinct legal principles. The inquiry here is merely whether Franco has established
a triable issue of fact as to Article III standing, not whether he has stated an Eighth Amendment claim under Section
1983. See Leslie v. Medline Indus., Inc., No. 20-CV-01654, 2021 WL 4477923, at *7 (N.D. Ill. Sept. 30, 2021)
(“[A]ny lack of a cause of action … does not mandate a finding of no injury-in-fact for purposes of Article III
standing.”).


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prison on July 20, 2023. (Dkt. 42 ¶ 21.) The parties also do not dispute that Franco’s release date

was March 26, 2023, when calculated with a one-year MSR term. (Dkt. 46 ¶ 8; dkt. 41-2.)

Franco has thus established that he has suffered an injury in fact. See Conley v. United States, 5

F.4th 781, 786-87 (7th Cir. 2021) (explaining that when challenging a conviction, incarceration

“constitutes a concrete injury”) (quoting Spencer v. Kemna, 523 U.S. 1, 7 (1998)). The court

therefore denies IDOC Officials’ motion for summary judgment as to Article III standing.

   II.      Qualified Immunity

         IDOC Officials next argue that they are entitled to summary judgment on qualified

immunity grounds. Franco urges the court to defer ruling on qualified immunity because “the

parties stipulated in front of the court that they would only brief the injury in fact issue.” (Dkt. 40

at 11.) IDOC Officials respond that “the record would speak for itself.” (Dkt. 45 ¶ 26.) Franco

has not pointed to any evidence corroborating such a stipulation. To the contrary, IDOC Officials

pleaded qualified immunity as an affirmative defense in their answer. (Dkt. 26 at 14.) Either

way, the issue can be fully addressed as presented here and, if discovery is needed to resolve the

issue, the court may so order.

         Qualified immunity “protects government officials ‘from liability for civil damages

insofar as their conduct does not violate clearly established statutory or constitutional rights of

which a reasonable person would have known.’” Pearson v. Callahan, 555 U.S. 223, 231 (2009)

(quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). Qualified immunity is more than a

“mere defense to liability” and rather provides “immunity from suit.” Smith v. Finkley, 10 F.4th

725, 737 (7th Cir. 2021) (quoting Mitchell v. Forsyth, 472 U.S. 511, 526 (1985)). The Supreme

Court has thus “repeatedly … stressed the importance of resolving immunity questions at the

earliest possible stage in litigation.” Doe v. Vill. of Arlington Heights, 782 F.3d 911, 915-16 (7th



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Cir. 2015) (quoting Saucier v. Katz, 533 U.S. 194, 201 (2001)); Crawford-El v. Britton, 523 U.S.

574, 598 (1998).10

         At this stage, the court should determine whether IDOC Officials’ alleged conduct,

assumed to be true, violated a clearly established constitutional right. Crawford-El, 523 U.S. at

598; see also Sanchez v. Bremer, No. 8:11-CV-314, 2012 WL 1396879, at *5 (D. Neb. Apr. 23,

2012) (denying objection to magistrate judge’s order providing, “The defendants have moved for

summary judgment, claiming the facts as alleged by the plaintiff do not support a claim that the

defendants violated plaintiff’s clearly established constitutional rights. This analysis can proceed

… based on the plaintiff’s allegations alone.”). State officials are protected by qualified

immunity “unless the plaintiff shows: (1) that the official violated a statutory or constitutional

right, and (2) that the right was ‘clearly established’ at the time of the challenged conduct.” Reed

v. Palmer, 906 F.3d 540, 546 (7th Cir. 2018) (quotation omitted). An official is entitled to

qualified immunity if either inquiry is answered in the negative. Id.

         A.       Complaint Allegations

         Franco alleges that Gray miscalculated Franco’s release date because she used a two-year

MSR term, rather than the one-year term imposed by the circuit judge. (Dkt. 16 ¶ 23.) While at

the NRC, Franco communicated to a grievance counselor that his release date was miscalculated,

and the grievance counselor relayed the complaint to Gray. (Id. ¶¶ 24-25.) Gray responded that

the facility to which Franco was to be transferred would handle the issue. (Id. ¶ 26.) Franco


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            Accordingly, when a defendant pleads qualified immunity, the court “should resolve that threshold
question before permitting discovery.” Crawford-El, 523 U.S. at 598. “To do so, the court must determine whether,
assuming the truth of the plaintiff’s allegations, the official’s conduct violated clearly established law.” Id. This rule
is not absolute. Crawford-El dealt with whether a §1983 plaintiff must plead clear and convincing evidence of an
official’s improper motive so the issue of qualified immunity could be decided based on the pleadings. The Court
held that the plaintiff did not. To address the policy of minimizing the burden on the defense, however, the Court
advised that a district judge could order a “focused deposition” bearing on the qualified immunity defense or defer
the issue of motive until it decides whether the plaintiff had suffered any injury or engaged in protected conduct. See
id. at 599.

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alleges that Gray was deliberately indifferent “because she did not investigate and/or effectively

investigate [Franco’s] claim that his release date was miscalculated, even though she knew that

there was a risk that he may be incarcerated for longer than he should be without penological

justification.” (Id. ¶ 27.)

        Franco next alleges that while he was in custody at Illinois River, he communicated to the

facility’s record office that his release date was incorrect. (Id. ¶ 29.) In response, Smith

“communicated to [Franco] and/or [Franco’s] grievance counselor that he needed to bring his

concerns to the attention of the parole board.” (Id. ¶ 30.) As with Gray, Franco alleges that Smith

“did not investigate and/or effectively investigate [Franco’s] claim that his release date was

miscalculated, even though she knew that there was a risk that he may be incarcerated for longer

than he should be without penological justification.” (Id. ¶ 31.)

        Finally, Franco allegedly “communicated” to Warden Hinthorne that his release date had

been miscalculated, but Hinthorne nonetheless “did not consult with the facility’s record office

and/or the main record office in Springfield to ensure that his claim was investigated and/or

effectively investigated.” (Dkt. 16 ¶¶ 32-33.)

        B.      Constitutional Violation

        Detention beyond a person’s lawful release date “violates the Eighth Amendment if it is

the product of deliberate indifference.” Figgs v. Dawson, 829 F.3d 895, 902 (7th Cir. 2016).

“Deliberate indifference requires more than negligence or even gross negligence; a plaintiff must

show that the defendant was essentially criminally reckless, that is, ignored a known risk.” Id. at

903. State officials are deliberately indifferent when they do nothing, or when they take action

“that is so ineffectual under the circumstances that deliberate indifference can be inferred.” Id.




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       Franco alleges that both Gray and Smith were individually aware that his release date

could have been miscalculated but each nevertheless failed to investigate the issue effectively.

This is sufficient to allege a deliberate indifference claim. See, e.g., Vernon v. McGlone, 670 F.

Supp. 3d 648, 655 (N.D. Ill. 2023) (denying motion to dismiss deliberate indifference claim

against prison records office supervisor where she allegedly failed to address plaintiff’s

complaint about the error in his release date). Similarly, Franco alleges that Hinthorne was

personally aware that his release date could have been miscalculated but failed to consult with

either the Illinois River records office or main IDOC records office in Springfield. This, too, is

sufficient. See Schneider v. Cnty. of Will, Ill., 528 F. App’x 590, 594-95 (7th Cir. 2013) (holding

that a jury reasonably could conclude that warden acted with deliberate indifference where he

received a letter from plaintiff complaining of over-detention and consulted with records

supervisor, but took no further action in response); see also Vernon v. Elberson, No. 22 C 4890,

2024 WL 216665, at *2 (N.D. Ill. Jan. 20, 2024) (denying motion to dismiss deliberate

indifference claim where plaintiff alleged that the warden denied his grievance regarding over-

detention “without consulting prison or IDOC record office”). The court therefore concludes that

Franco has alleged a constitutional violation as against Gray, Smith, and Hinthorne.

       C.      Clearly Established Law

       The court must next determine whether Franco alleges that an IDOC Official violated

“clearly established statutory or constitutional rights of which a reasonable person would have

known.” Pearson, 555 U.S. at 231 (quotation omitted). “The law is clearly established when

various courts have agreed that certain conduct is a constitutional violation under facts not

distinguishable in a fair way from the facts presented in the case at hand.” Brzowski v. Sigler,

No. 17 C 9339, 2021 WL 2529569, at *7 (N.D. Ill. June 21, 2021) (quoting Figgs, 829 F.3d at



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905). While clearly established law does not require a directly on-point case, “precedent must

have placed the … constitutional question beyond debate.” Campbell v. Kallas, 936 F.3d 536,

545 (7th Cir. 2019) (quoting White v. Pauly, 580 U.S. 73, 79 (2017)). The contours of the

constitutional right must be “sufficiently clear that every reasonable official would have

understood that what he is doing violates that right.” Doe v. Gray, 75 F.4th 710, 716-17 (7th Cir.

2023).

         To determine whether an alleged constitutional violation is clearly established, the court

first looks at binding Supreme Court precedent and then to Seventh Circuit precedent. Reed, 906

F.3d at 547. If there is no controlling precedent, the court expands its survey to include “all

relevant caselaw in order to determine ‘whether there was such a clear trend in the caselaw that

we can say with fair assurance that the recognition of the right by a controlling precedent was

merely a question of time.’” Id. (quoting Jacobs v. City of Chicago, 215 F.3d 758, 767 (7th Cir.

2000)). The plaintiff bears the burden of demonstrating that a right was clearly established at the

time the alleged violation occurred. Green v. Newport, 868 F.3d 629, 633 (7th Cir. 2017).

         Franco relies primarily on Figgs v. Dawson, 829 F.3d at 905. In Figgs, the plaintiff

complained of over-detention, asserting that his release date was miscalculated based on the

falsehood that he was on MSR when he committed the offense for which he was serving his

sentence. Id. at 904. The Seventh Circuit vacated the district court’s grant of summary judgment

for the defendant prison records official. Id. at 905. Even though the records official investigated

the complaint, the court reasoned, her investigation was “so ineffectual that it rose to the level of

criminal recklessness and thus constituted deliberate indifference.” Id. The court concluded, “it

was clearly established … that the failure to investigate a claim that an inmate is being held




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longer than the lawful term of his sentence violates the Eighth Amendment if it is the result of

indifference.” Id. at 906.

         As in Figgs, Franco alleges that IDOC Officials failed to investigate effectively his

complaints that he was being held beyond his lawful release date, even though they were aware

that his sentence may have been miscalculated. (Dkt. 16 ¶¶ 23-33.) This brings Franco’s

allegations squarely within the reach of Seventh Circuit precedent.

         IDOC Officials contend that Figgs does not clearly establish a constitutional violation

because “it does not address the specific situation here involving conflicts between sentencing

orders and state statutory requirements.” (Dkt. 45 ¶ 32.) They further argue that “there is no

clearly established law that would put Defendants on notice that applying a statutorily-correct

MSR term … violates a prisoner’s Eighth Amendment right.” (Id. ¶ 24.) The court rejects this

overly narrow reading.

         While the court must not “define clearly established law at a high level of generality,”

Reed, 906 F.3d at 548 (quotation omitted), “the very action in question need not have previously

been held unlawful for a public official to have reasonable notice of the illegality of some

action.” Figgs, 829 F.3d at 906 (quotation omitted). Distinguishing the matter based on a specific

sentencing error ignores the “‘broader deficiencies’ with the course of action, or inaction,

[Franco] alleges that the defendants took.” McGlone, 670 F. Supp. 3d at 657 (denying motion to

dismiss deliberate indifference claim for over-detention against prison officials on qualified

immunity grounds) (quoting Figgs, 829 F.3d at 906). Franco alleges “that he put the defendants

on notice of the illegality of his continued incarceration but they did nothing to investigate this.”

Id. This is sufficiently analogous to Figgs.11 Franco therefore alleges the violation of a clearly


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            IDOC Officials urge the court to “be mindful” that “Supreme Court precedent takes precedence over
circuit court decisions,” and instruct the court to “exercise caution” in applying Figgs to the instant case because

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established constitutional right of which IDOC Officials reasonably should have known. The

court denies summary judgment on qualified immunity grounds.12

    III.        Deliberate Indifference

           The court finds, having concluded that IDOC Officials are not entitled to qualified

immunity, that liability rests on whether any of the defendants was deliberately indifferent to

Franco’s constitutional rights. If, as alleged, they received Franco’s complaints and did nothing

in response, a reasonable jury could infer that they were deliberately indifferent. But these facts

are in dispute. The defendants neither admit nor deny that Franco informed them of the

miscalculation (Dkt. 26 ¶¶ 24-26, 29, 32); they deny that they failed to investigate (id. ¶¶ 27, 31,

33); and they deny they deprived Franco of his Eighth Amendment rights. (Id. ¶ 50.) In addition,

the scope of each defendant’s responsibilities may affect the conclusion on indifference. As such,

the case must proceed to discovery on this issue.

                                       CONCLUSION AND ORDER

           For the foregoing reasons, the motion for summary judgment (dkt. 31) is denied.

The parties shall submit a proposed scheduling order on or before December 20, 2024.




Date: December 4, 2024
                                                                ____________________________
                                                                 U.S. District Judge Joan H. Lefkow


“the Court often corrects lower courts when they wrongly subject individual officers to liability.” (Dkt. 45 ¶ 33)
(quoting City and County of San Francisco, Calif. v. Sheehan, 575 U.S. 600, 611 n.3 (2015)). The court has
carefully evaluated the relevant precedent and does not need to be reminded of the potential for appellate review.
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             IDOC Officials also argue that “prison officials are permitted to rely upon ‘a reasonable interpretation of
a state statute,’” which “directly supports qualified immunity.” (Dkt. 45 ¶ 28) (quoting Armato, 766 F.3d at 721).
The Armato court, however, relied on specific facts demonstrating reasonableness. Id. (affirming denial of deliberate
indifference claim because defendants “testified that they believed releasing [the plaintiff] without a term of MSR
was contrary to state law,” one defendant expressed this concern to colleagues, and an IDOC attorney informed
defendants that he believed that the plaintiff could not be sentenced without an MSR term). Franco does not allege
any such facts. At this pre-discovery stage, the court accepts his allegations as true. Crawford-El, 523 U.S. at 598.

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